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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
                                            x
  D. JOSEPH KURTZ, Individually and on      : Civil Action No. 1:14-cv-01142-PKC-RML
  Behalf of All Others Similarly Situated,  :
                                            : CLASS ACTION
                                Plaintiff,  :
                                            :
         vs.                                :
                                            :
  KIMBERLY-CLARK CORPORATION, et al., :
                                            :
                                Defendants.
                                            :
                                            x
  GLADYS HONIGMAN, Individually and on       : Civil Action No. 2:15-cv-02910-PKC-RML
  Behalf of All Others Similarly Situated,   :
                                             : CLASS ACTION
                            Plaintiff,       :
                                             :
        vs.                                  :
                                             :
  KIMBERLY-CLARK CORPORATION,                :
                                             :
                            Defendant.
                                             :
                                             x
                           PLAINTIFFS’ MOTION FOR
              PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
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         Representative plaintiffs Dr. D. Joseph Kurtz and Gladys Honigman (together, “Plaintiffs”),

  respectfully move this Court, at the United States Courthouse, 225 Cadman Plaza East, Brooklyn,

  New York 11201, at a date and time to be determined by the Court, for an Order:

         1.     Granting preliminary approval of the Settlement;

         2.     Certifying a Rule 23(b)(3) class for settlement purposes;

         3.     Appointing Plaintiffs as Class Representatives;

         4.     Appointing Robbins Geller Rudman & Dowd LLP as Settlement Class Counsel;

         5.     Approving the Settling Parties’ proposed form and method of providing notice of the

  pendency of the Settlement to the Settlement Class under Rule 23(e)(2); and

         6.     Scheduling a Settlement hearing for Final Approval of: (a) the Settlement set forth in

  the Settlement Agreement and General Release; and (b) Settlement Class Counsel’s application for

  an award of attorneys’ fees and expenses incurred in representing the Settlement Class.

         In support of this Motion, Plaintiffs incorporate by reference its Memorandum, Declaration

  of Vincent M. Serra and supporting exhibits, which are filed simultaneously herewith.

  DATED: April 5, 2022                         ROBBINS GELLER RUDMAN
                                                & DOWD LLP
                                               SAMUEL H. RUDMAN
                                               VINCENT M. SERRA
                                               FRANCIS P. KARAM
                                               SARAH E. DELANEY


                                                               /s/ Vincent M. Serra
                                                              VINCENT M. SERRA
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                                      Attorneys for Plaintiffs




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                                     CERTIFICATE OF SERVICE

            I, Vincent M. Serra, hereby certify that on April 5, 2022, I authorized a true and correct copy

  of the foregoing document to be electronically filed with the Clerk of the Court using the CM/ECF

  system, which will send notification of such public filing to all counsel registered to receive such

  notice.


                                                                     /s/ Vincent M. Serra
                                                                    VINCENT M. SERRA
